                          IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE

 UNITED STATES OF AMERICA,                        )
                                                  )
                        Plaintiff,                )
                                                  )
 v.                                               )                        No. 3:20-MJ-1088-DCP
                                                  )
 DOMINIC BROWN,                                   )
                                                  )
                        Defendant.                )

                                             ORDER

        This matter came before the undersigned for a preliminary hearing pursuant to Fed. R.

 Cr. P. 5.1, conducted by video teleconference on June 24, 2020, and continued in person on June

 26, 2020.   Assistant United States Attorney Casey Thomas Arrowood was present for the

 Government, and Assistant Federal Defenders Benjamin G. Sharp and Nakeisha C. Jackson

 represented the Defendant, who also appeared. In the June 24 hearing, FBI Special Agent Mollie

 Treadway testified about her investigation of this case, to include reviewing a police report by

 Knoxville Police Department of the events of May 30 and 31, 2029, and reviewing snapchat

 videos and photographs by the Defendant. The Criminal Complaint and supporting Affidavit of

 Agent Treadway was admitted as Exhibit 1 to the hearing.

        Based on the testimony and evidence presented at the hearing, the Court finds probable

 cause to believe the two offenses charged in the Criminal Complaint did occur and that they were

 committed by the Defendant. Specifically, the Court finds there is probable cause to believe that

 Dominic Brown used a facility of interstate commerce to incite or to organize, promote,

 encourage, participate in, or carry out a riot and, in the course thereof, performed or attempted an

 overt act in violation of 18 U.S.C. § 2101. The Court also finds probable cause to believe the

 Defendant committed or attempted an act to obstruct or interfere with law enforcement, engaged




Case 3:20-cr-00055-PLR-DCP Document 13 Filed 06/26/20 Page 1 of 2 PageID #: 19
 in the lawful performance of official duties, during the commission of a civil disorder, adversely

 affecting commerce, in violation of 18 U.S.C § 231(a)(3).

        Accordingly, it is ORDERED that the Defendant is held for further proceedings in the

 District Court.

        IT IS SO ORDERED.
                                              ENTER:



                                              United States Magistrate Judge




                                                 2

Case 3:20-cr-00055-PLR-DCP Document 13 Filed 06/26/20 Page 2 of 2 PageID #: 20
